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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
__________________________________________
                                                     )
 DONNA LOU and DAREN PARSA, on their own )
 behalf and on behalf of their deceased minor child, )
 E.P.                                                )
                      Plaintiffs,                    )
        v.                                           )
                                                     ) Case No. 2:21-cv-00080
 SHERIFF JOSEPH P. LOPINTO, III, CHAD                )
 PITFIELD, RYAN VAUGHT, STEVEN                       )
 MEHRTENS, SHANNON GUIDRY, NICK                      )
 VEGA, MANUEL ESTRADA, MYRON                         )
 GAUDET, JOHN DOES 1-3, VICTORY REAL                 )
 ESTATE INVESTMENTS LA, LLC and                      )
 WESTGATE INVESTORS NO LLC D/B/A                     )
 WESTGATE SHOPPING CENTER, ABC                       )
 INSURANCE COMPANY, and XYZ                          )
 INSURANCE COMPANY,                                  )
                                                     )
                     Defendants.



                       EX PARTE MOTION FOR ADMISSION PRO HAC VICE

        In accordance with Local Civil Rule 83.2.5, the undersigned William Most, counsel of

 record for Plaintiff, respectfully requests that this Court permit attorney Andrew C. Clarke to

 appear and participate pro hac vice as counsel on behalf of the plaintiff in this case.


                                              DISCUSSION

        1.      Andrew C. Clarke is a licensed attorney admitted to practice in the state of

 Tennessee. He is a member in good standing of the Western District of Tennessee, Western

 Division, and his contact information is as follows:

        Andrew C. Clarke
        Tennessee State Bar No. 15409
        The Cochran Firm
        One Commerce Square, Suite 1700
        Memphis, TN 38103
        (901) 523-1222
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       aclarke@cochranfirmmidsouth.com

       2.      Pursuant to Local Civil Rule 83.2.5 a Certificate of Good Standing in the Western

District of Tennessee is attached here as Exhibit A.

        WHEREFORE, William Most, a member of the bar of this Court in good standing, prays

that this court enter an order permitting Andrew C. Clarke to appear pro hac vice for Plaintiff in

the above-captioned matter.


                                                  Respectfully submitted,

                                                  /s/ William Most
                                                  WILLIAM MOST
                                                  Law Office of William Most, L.L.C.
                                                  Louisiana Bar No. 37764
                                                  201 St. Charles Ave., Ste. 114 #101
                                                  New Orleans, LA 70170
                                                  Tel: (504) 509-5023
                                                  Email: williammost@gmail.com


                                   CERTIFICATE OF SERVICE
        I hereby certify that on January 14, 2021, a copy of Plaintiffs’ Ex Parte Motion for

Admission Pro Hac Vice was filed electronically with the Clerk of Court via the CM/ECF

system.


                                                  /s/ William Most
                                                  William Most




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